Case 1:17-cv-06859-RWS Docu lent 1-6 Filed 09/08/17 Page Cqu

“EFLSFUYSSLYLUS

MICHAEL J. RYAN
EXECUTIVE DIRECTOR

SO

FREDERIC M. UMANE

PRESIDENT
ROSANNA VARGAS DAWN SANDOW
SECRETARY DePuTy EXECUTIVE DIRECTOR

PAMELA GREEN PERKINS

JOSE MIGUEL ARAUJO. BOARD Oo F E L. E CTI O NS ADMINISTRATIVE MANAGER

JOHN FLATEAU

MARIA R. GUASTELLA 1N GEORGEA KONTZAMANIS
MICHAEL MICHEL THE ClPY OF NEW YORK OPERATIONS MANAGER
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ROBERT SIANO (212) 487-5300 GENERAL COUNSEL
JOHN Wm. ZACCONE WYN. VOLE. NYC.YyUS
COMMISSIONERS
Bill Murawski

(Candidate/Contact Person)
July 27, 2017

Dear Sir:

The Commissioners of Elections (or duly constituted committee thereof), pursuant
to the provisions of Rule D6 of the Board's Designating Petition Rules for the September
42, 2017 Primary Election, at a meeting held on July 25, 2017, determined that the
following will not appear on the ballot for the September 12, 2017 Primary Election since
the Amended Cover Sheet filed did not comply with the New York State Election Law
and/or the Rules of the Board of Elections for the following reason:

The Amended Cover Sheet does not contain a statement that the petition contains a
sufficient number, or in excess of the number, of valid signatures required by the Election
Law or the New York City Charter.

Candidate P | Office/Position District

Bill Murawski Democratic MViayor Citywide

Very truly yours,

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THE COMMISSIONERS OF ELECTIONS
IN THE CITY OF NEW YORK

